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                              UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NEW YORK
                                                       )
 JOHN KOGUT,                                           )
                                Plaintiff,             )
                                                       )
                      -against-                        )
                                                       )
 THE COUNTY OF NASSAU, POLICE                          )
 COMMISSIONER DONALD KANE, POLICE                      )
 COMMISSIONER WILLIAM J. WILLETT (2005),               )
 POLICE COMMISSIONER JAMES LAWRENCE,                   ) 06-CV-6695 (JS)(WDW)
 DETECTIVE SEAN SPILLANE (HEAD OF HOMICIDE )
 1985), DETECTIVE DENNIS FARRELL (HEAD OF              )
 HOMICIDE 2005), CAROLANN HESSEMAN, AS                 )
 EXECUTRIX FOR THE ESTATE OF JOSEPH VOLPE,             )
 DETECTIVE ROBERT DEMPSEY, DETECTIVE                   )
 ALBERT MARTINO, DETECTIVE WAYNE                       )
 BIRDSALL, DETECTIVE MILTON G. GRUBER,                 )
 DETECTIVE CHARLES FRAAS, DETECTIVE FRANK )
 SIRIANNI, DETECTIVE HARRY WALTMAN, P.O.               )
 MICHAEL CONNAUGHTON, P.O. WILLIAM DIEHL,              )
 and JOHN DOES 1-5,                                    )
                                                       )
                                  Defendants.          )
                                                       )
                                                       )
 JOHN RESTIVO, DENNIS HALSTEAD, MELISSA                )
 LULLO, JASON HALSTEAD, TAYLOR HALSTEAD,               )
 and HEATHER HALSTEAD,                                 )
                                                       )
                                  Plaintiffs,          )
                                                       )
                        -against-                      )
                                                       )
 NASSAU COUNTY, CAROLANN HESSEMAN, AS                  )
 EXECUTRIX FOR THE ESTATE OF JOSEPH VOLPE,             )
 in his individual capacity, ROBERT DEMPSEY,               06-CV-6720(JS)(WDW)
                                                       )
 in his individual capacity, FRANK SIRIANNI,           )
 in his individual capacity, MILTON GRUBER,            )
 in his individual capacity, HARRY WALTMAN             )
 in his individual capacity ALBERT MARTINO,            )
 in his individual capacity, CHARLIE FRAAS,            )
 in his individual capacity, THOMAS ALLAN              )
 in his individual capacity, RICHARD BRUSA,            )
 in his individual capacity, VINCENT DONNELLY,         )
 in his individual capacity, MICHAEL
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 CONNAUGHTON, in his individual capacity,                       )
 WAYNE BIRDSALL, in his individual capacity,                    )
 WILLIAM DIEHL, in his individual capacity,                     )
 JACK SHARKEY, in his individual capacity,                      )
 DANIEL PERRINO, in his individual capacity,                    )
 ANTHONY KOZIER, in his individual capacity,                    )
 Detective Sergeant CAMPBELL, (Shield #48),                     )
 in his individual capacity, SEAN SPILLANE,                     )
 in his individual capacity, RICHARD ROE                        )
 SUPERVISORS #1-10, in their individual                         )
 capacities,                                                    )
                                                                )
                        Defendants.



                      DECLARATION OF DEBORAH L. CORNWALL

        Pursuant to 28 U.S.C. § 1746, I, Deborah L. Cornwall, hereby declare under penalty of

 perjury that the following facts are true, to the best of my knowledge and belief:


    1. I am a partner at the law firm of Neufeld Scheck & Brustin, LLP. In that capacity I am
       one of the attorneys representing plaintiffs John Restivo and Dennis Halstead in the
       above-captioned action.

    2. On May 7, 2012, Magistrate William D. Wall issued an Order granting plaintiffs’ motion
       to compel responses to our Eleventh Set of Requests for Production, which in relevant
       part called for the production of records of various County agencies, including the Nassau
       County Police Department, the Nassau County District Attorney’s Office and Nassau
       County Correctional Center reflecting benefits accorded to, and incarceration histories of,
       six inmate witnesses to claim to have heard plaintiffs make incriminating admissions.
       See D.E. 206 (granting plaintiffs’ motion to compel, D.E. 192; 11th RFPs docketed at
       D.E. 192-1). The Order specified that “Defendants shall produce the documents as soon
       as possible or no later than May 21, 2012.” D.E. 206 at 2.

    3. Other than unrelated DNA reports from the Nassau County Medical Examiner’s Office,
       which had separately been subpoenaed, we did not receive additional documents by May
       21, 2012.

    4. I contacted defense counsel Freeman and Limani by phone several times to request that
       County documents responsive to the Order be produced in advance of our July 2, 2012
       summary judgment response deadline. Specifically, I raised the issue with Mr. Freeman
       and Ms. Limani by phone on June 15, 2012, and again by email to all defense counsel on
       June 20, 2012. To date no County documents pertaining to benefits or incarceration
       history have been provided pursuant to the Order.

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    5. In numbering exhibits offered in opposition to summary judgment, we have used
       deposition exhibit numbers where possible, but not every deposition exhibit is offered
       here. The last deposition exhibit number was plaintiffs’ exhibit (“PX”) 326. To reduce
       confusion, rather than offering the Court consecutively numbered exhibits which may or
       may not be consistent with deposition exhibit numbers, we have created new numbers for
       any exhibit that was not marked at a deposition, starting at PX 330.

    6. Attached as PX1 is a true and correct copy of an undated NCPD Scientific Investigation
       Bureau Report of Det. Charles C. Fraas, produced by defendants in discovery.

    7. Attached as PX15 is a true and correct copy of a 4/19/85 NCPD Form 79 (Physical
       Condition of Defendant Questionnaire) for Kenneth Cockerel, produced by defendants in
       discovery.

    8. Attached as PX56 is a true and correct copy of the Nassau County Medical Examiner’s
       Autopsy Report for Theresa Fusco, produced by defendants in discovery.

    9. Attached as PX62 is a true and correct copy of an excerpt of the missing persons report
       for Theresa Fusco prepared by NCPD Det. G. Doherty, produced by defendants in
       discovery.

    10. Attached as PX69 is a true and correct copy of a Stipulation to Vacate from People v
        Restivo & Halstead and People v. Kogut.

    11. Attached as PX70 is a true and correct copy of the 5/2/03 Affirmation of Peter Weinstein
        Consenting to Vacatur of Defendants’ Judgments of Conviction.

    12. Attached as PX71 is a true and correct copy of the transcript of the proceedings
        dismissing the indictment in People v. Restivo & Halstead, Ind. No. 61322-85, on
        12/29/05.

    13. Attached as PX96 is a true and correct copy of defendant Michael Connaughton’s
        handwritten notes of his 4/2/86 interview of Steven Dorfman, as produced by defendants
        in discovery.

    14. Attached as PX97 is a true and correct typed copy of the 4/2/86 interview and 6/25/86
        statement of Steven Dorfman, as produced by defendants in discovery.

    15. Attached as PX98 is a true and correct copy of the 6/25/86 statement of Steven Dorfman
        handwritten by defendant Volpe, as produced by defendants in discovery.

    16. Attached as PX100 is a true and correct copy of plea minutes of Steven Dorfman in
        People v. Dorfman, Ind. No. 63090/86.



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    17. Attached as PX114 is a true and correct copy of the 4/11/85 Affirmation of Theodore
        Robinson in Support of Petition for Article 78 Relief for John Restivo and Dennis
        Halstead, filed in connection with the underlying criminal proceedings and produced by
        defendants in discovery. We respectfully request that the Court take judicial notice of
        this filing as an adjudicative fact pursuant to Federal Rule of Evidence 201.

    18. Attached as PX115 is a true and correct copy of a 3/28/85 Letter from NCPD Police
        Commissioner Samuel J. Rozzi to Theodore Robinson regarding Mr. Robinson’s 3/19/85
        letter of complaint about the abusive interrogation of John Restivo, produced by
        defendants in discovery.

    19. Attached as PX134 is a true and correct copy of excerpts of NCPD Homicide Bureau
        Blotter Entries for 3/5/85, 3/6/85, 3/25/85 & 3/26/85, produced by defendants in
        discovery.

    20. Attached as PX135 is a true and correct copy of the NCPD Miranda Policy as of 2/15/84,
        as produced by defendants in discovery.

    21. Attached as PX141 is a true and correct copy of defendant Waltman’s handwritten notes
        of his 9/12/85 interview with Brian O’Hanlon, produced by defendants in discovery.

    22. Attached as PX143 is a true and correct copy of the 9/12/1985 Statement of Brian
        O’Hanlon, handwritten by Det. H. Waltman, as produced by defendants in discovery.

    23. Attached as PX144 is a true and correct copy of the 9/12/1985 Statement of Brian
        O’Hanlon to Dets. Waltman and Lane, typed, as produced by defendants in discovery.

    24. Attached as PX158 is a true and correct copy of a 12/9/84 NCPD Homicide Lead Sheet
        regarding a call Detective Volpe took from Debra Smith, as produced by defendants in
        discovery.

    25. Attached as PX159 is a true and correct copy of a 12/9/84 Statement of Debra Smith,
        Handwritten by Det. Pierce, as produced by defendants in discovery.

    26. Attached as PX160 is a true and correct copy of Det. Mitchell’s notes of a telephone call
        from Debbie Smith, produced by defendants in discovery.

    27. Attached as PX161 is a true and correct copy of 12/6/84 handwritten notes by Det.
        Mitchell regarding his interview of John French, as produced by defendants in discovery.

    28. Attached as PX162 is a true and correct copy of a 12/11/84 list of items lost from John
        French’s Car, handwritten by Det. Mitchell, as produced by defendants in discovery.

    29. Attached as PX163 is a true and correct copy of a 12/8/84 Statement of John French
        handwritten by Det. Sirianni, as produced by defendants in discovery.


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    30. Attached as PX165 is a true and correct copy of a NCPD Latent Fingerprint Unit Vehicle
        Processing Worksheet and related documents relating to the processing of the French car,
        as produced by defendants in discovery.

    31. Attached as PX166 is a true and correct copy of a 11/10/84 Lynbrook Police Report of
        John French’s stolen vehicle and 11/18/84 Report of vehicle recovery, as produced by
        defendants in discovery.

    32. Attached as PX168 is a true and correct copy of the NCPD Missing Person Poster for
        Theresa Fusco, produced by defendants in discovery.

    33. Attached as PX169 are true and correct copies of NCPD photographs of the John French
        Car (at pp. 1-4 & 9), as produced by defendants in discovery.

    34. Attached as PX170-A is a true and correct copy of a Mapquest map noting reported
        locations of information provided by John French and Debra Smith in reference to Hot
        Skates and Theresa Fusco’s home, with handwritten markings made at deposition.

    35. Attached as PX184 is a true and correct copy of a 11/27/85 NCPD Lt. Sean Spillane letter
        recommending that Det. Volpe, P.O. Connaughton and P.O. Diehl receive a
        commendation for their work in the Fusco investigation, as produced by defendants in
        discovery.

    36. Attached as PX185 is a copy of PX 184, retyped for legibility given the poor quality of
        that PX as produced by defendants in discovery.

    37. Attached as PX192 is a true and correct copy of a 3/5/85 NCPD Form 79, Physical
        Condition of Defendant Questionnaire for Harold Smyle, as produced by defendants in
        discovery.

    38. Attached as PX195 is a true and correct copy of a 3/7/85 Statement of Harold Smyle
        handwritten by Det. Sirianni, as produced by defendants in discovery.

    39. Attached as PX198 is a true and correct copy of a 3/27/85 Statement of Harold Smyle
        handwritten by Det. Perrino, as produced by defendants in discovery.

    40. Attached as PX199 is a true and correct copy of 3/27/85 typed statement of Harold
        Smyle, produced by defendants in discovery.

    41. Attached as PX208 is a true and correct copy of a 6/10/85 Statement of Kenneth
        Cockerel, handwritten by defendant Sirianni and produced by defendants in discovery.

    42. Attached as PX209 is a true and correct copy of 4/19/85 Statement of Kenneth Cockerel,
        handwritten by defendant Allen and produced by defendants in discovery.



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    43. Attached as PX210 is a true and correct copy of the transcript of Kenneth Cockerel’s
        testimony on 6/10/85 before the Restivo/Halstead Grand Jury, produced by defendants in
        discovery. The exhibit reflects that Mr. Cockerel testified twice: first at pages 3-45, and
        then in a second session at pages 67-79.

    44. Attached as PX211 is a true and correct copy of the transcript of Michael Cockerel’s
        testimony on 6/17/85 before the Restivo/Halstead Grand Jury, produced by defendants in
        discovery.

    45. Attached as PX213 is a true and correct copy of the 3/18/03 Affidavit of David Rapp.

    46. Attached as PX227 is a true and correct copy of a collection of documents relating to the
        Robert Moore case, as marked by counsel for plaintiff John Kogut at deposition.

    47. Attached as PX231 is a true and correct copy of a page from the ADA’s progress notes in
        People v. Steven Dorfman, produced by defendants in discovery.

    48. Attached as PX243A is a true and correct copy of Chau Lam, “False Confessions,”
        Newsday 4/11/05, as offered at depositions in this action.

    49. Attached as PX247 is a true and correct copy of a 3/10/95 Interdepartmental
        Memorandum from NCDA Appeals Chief Peter Weinstein and Deputy Chief Bruce
        Whitney to DA Denis Dillon re: Theresa Fusco homicide, produced by defendants in
        discovery pursuant to court order overruling claims of privilege, see D.E. 145 (granting
        plaintiffs’ motion to compel, D.E. 111), D.E. 158 (denying defendants’ motion for
        reconsideration).

    50. Attached as PX250 is a true and correct copy of the Statement of Anibal Martinez,
        handwritten by the NCPD in Spanish, produced by plaintiff John Kogut in discovery.

    51. Attached as PX251 is a true and correct copy of a collection of documents from the
        NCPD investigation of Anibal Martinez, Jarreu Carter Statements, dismissal transcript,
        news articles, produced by plaintiff John Kogut in discovery.

    52. Attached as PX253 is a true and correct copy of the Complaint in Martinez v Nassau
        County, et al., No. 02 Civ. 4985 (JS)(WDW), as produced by plaintiff John Kogut in
        discovery.

    53. Attached as PX254 is a true and correct copy of the Statement of Anibal Martinez,
        PX250, translated into English by NCPD Det. Trujillo, as produced by plaintiff John
        Kogut in discovery.

    54. Attached as PX266 is a true and correct copy of the Lynbrook Police Blotter 11/10/84
        (2345 entry) regarding John French’s report that his car had been stolen, produced by the
        Lynbrook Police Department in response to a subpoena in this action.


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    55. Attached as PX278 is a true and correct copy of the 2/25/11 Declaration of Carl Pozzini
        attached to which are Exhibit A, true and correct copy of a June 10 statement defendant
        Volpe handwrote for Mr. Pozzini, and Exhibit B, a true and correct copy of Mr. Pozzini’s
        testimony from the Restivo/Halstead trial.

    56. Attached as PX296 is a true and correct copy of the 4/25/11 Declaration of Theodore
        Robinson, Esq., regarding his representation of plaintiff John Restivo in the underlying
        criminal proceedings.

    57. Attached as PX299 is a true and correct copy of various documents regarding
        investigation, indictment, prosecution, dismissal, civil suit and verdict in Shonnard Lee v.
        Nassau County, et al., No. 00 Civ. 0881 (WDW), as produced by plaintiff John Kogut in
        discovery.

    58. Attached as PX300 is a true and correct copy of the article, Chau Lam, “2M in faulty
        arrest,” Newsday 5/19/04.

    59. Attached as PX302 is a true and correct copy of a 3/10/00 NCPD Detective Division
        Supplementary Report by Det. Dempsey regarding the homicide of Sammy Jones, pp. 1-
        5, as produced by plaintiff John Kogut in discovery.

    60. Attached as PX303 is a true and correct copy of a Crime Stoppers Flyer regarding the
        Sammy Jones homicide, as produced by plaintiff John Kogut in discovery.

    61. Attached as PX304 is a true and correct copy of a 2/24/97 Statement of Henrietta
        Williams, handwritten by Det. Dempsey, as produced by plaintiff John Kogut in
        discovery.

    62. Attached as PX330 is a true and correct copy of excerpts of the 1/22/09 deposition of
        defendant Thomas J. Allen in this action.

    63. Attached as PX331 is a true and correct copy of excerpts of the 1/29/09 deposition of
        defendant Michael P. Connaughton in this action.

    64. Attached as PX332 is a true and correct copy of excerpts of the 2/13/09 deposition of
        defendant Robert Dempsey in this action.

    65. Attached as PX333 is a true and correct copy of excerpts of the 5/18/10 and 1/24/12
        deposition of defendant Robert Dempsey in this action.

    66. Attached as PX334 is a true and correct copy of excerpts of the 1/26/09 deposition of
        former NCPD Homicide Commander, Lt. Dennis W. Farrell, in this action.

    67. Attached as PX335 is a true and correct copy of excerpts of the 4/29/11 deposition of
        John French in this action.


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    68. Attached as PX336 is a true and correct copy of excerpts of the 3/16/11 deposition of
        Lori French Gabberty in this action.

    69. Attached as PX337 is a true and correct copy of excerpts of the 3/29/12 deposition of
        NCPD Det. Robert Hillman in this action.

    70. Attached as PX338 is a true and correct copy of excerpts of the 8/23/10, 9/1/10, 9/8/10
        and 4/3/12 deposition of trial prosecutor and former NCDA Assistant District Attorney
        Fred Klein, Esq., in this action.

    71. Attached as PX339 is a true and correct copy of excerpts of the 12/20/10 deposition of
        former NCDA Assistant District Attorney, now Judge, Edward W. McCarty, III, in this
        action.

    72. Attached as PX340 is a true and correct copy of excerpts of the 12/16/11 deposition of
        Brian O’Hanlon in this action.

    73. Attached as PX341 is a true and correct copy of excerpts of the 1/18/11 and 2/28/11
        deposition of former NCPD Det. Michael O’Leary in this action.

    74. Attached as PX342 is a true and correct copy of excerpts of the 1/4/12 deposition of Carl
        Pozzini in this action.

    75. Attached as PX343 is a true and correct copy of excerpts of the 8/2/10 deposition of
        David Rapp in this action, which was conducted in Kansas City, Missouri.

    76. Attached as PX344 is a true and correct copy of excerpts of the 6/13/11 and 6/14/11
        deposition of plaintiff John Restivo in this action.

    77. Attached as PX345 is a true and correct copy of excerpts of the 6/15/10, 12/13/11 and
        12/14/11 deposition of defendant Frank Sirianni in this action.

    78. Attached as PX 346 is a true and correct copy of excerpts of the 1/5/12 deposition of
        Harold Smyle in this action.

    79. Attached as PX347 is a true and correct copy of excerpts of the 2/9/09 and 4/21/10
        deposition of defendant and former Homicide Commanding Officer, Lt. Sean Spillane, in
        this action.

    80. Attached as PX348 is a true and correct copy of excerpts of the 1/26/09, 3/5/09, 3/18/09,
        4/6/09, 5/4/09, 11/24/09 videotaped deposition of defendant Joseph Volpe in this action.

    81. Attached as PX349 is a true and correct copy of excerpts of the 12/2/09 and 11/19/10
        continued videotaped deposition of defendant Joseph Volpe in this action.



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    82. Attached as PX350 is a true and correct copy of excerpts of the 2/10/11 deposition of
        former NCDA Appeals Bureau Chief and Assistant District Attorney Peter Weinstein,
        Esq. in this action.

    83. Attached as PX351 is a true and correct copy of excerpts of the 1/13/12 continued
        deposition of Peter Weinstein in this action.

    84. Attached as PX352 is a true and correct copy of the Restivo & Halstead Plaintiffs’ Fourth
        Set of Requests to Admit, deemed admitted pursuant to a motion to compel. See D.E.
        173 (granting motion to deem admitted, D.E. 168).

    85. Attached as PX353 is a true and correct copy of the report of plaintiffs’ police practices
        expert Russell Fischer.

    86. Attached as PX354 is a true and correct copy of a Google map depicting pertinent
        locations in Lynbrook.

    87. Attached as PX355 is a true and correct copy of a 12/8/84 NCPD Crime Scene Unit
        Scene Examination Report produced by defendants in discovery.

    88. Attached as PX356 is a true and correct copy of a redacted excerpt of a 2001
        Supplementary Report of NCPD Det. Robert Hillman produced by defendants in
        discovery pursuant to court order overruling a claim of privilege, see D.E. 146 (denying
        motion to quash, D.E. 114).

    89. Attached as PX357 is a true and correct copy of the 11/25/94 NCPD Supplementary
        Report of defendant Volpe, produced by defendants in discovery.

    90. Attached as PX358 is a true and correct copy of the 4/25/85 Affirmation of Theodore
        Robinson in Reply to Article 78 petition on behalf of plaintiffs John Restivo and Dennis
        Halstead in connection with the underlying criminal proceedings and produced by
        defendants in discovery.

    91. Attached as PX359 is a true and correct copy of the transcript of the 12/23/05 acquittal
        decision of the Hon. Victor Ort, People v. Kogut, Ind. No. 61029/85.

    92. Attached as PX360 is a true and correct copy of the 7/13/10 declaration of Harold Smyle
        in this action.

    93. Attached as PX361 is a true and correct copy of a NCPD Polygraph Examination card for
        Harold Smyle.

    94. Attached as PX362 is a true and correct copy of a criminal Information and Indictment,
        People v. Steven Dorfman, Ind. No. 63090/86.



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     95. Filed under seal separately as PX363 is a true and correct copy of Brian O’Hanlon’s New
         York State Division of Criminal Justice Services Repository Inquiry Record, produced by
         defendants in discovery.

     96. Attached as PX364 is a true and correct copy of a 1/29/86 Nassau County Correctional
         Center (“NCCC”) Administrative Segregation Report for Samuel Newsome.

     97. Attached as PX365 is a true and correct copy of a 3/3/86 NCCC sign-in form for Samuel
         Newsome reflecting a visit by Det. Pizer.

     98. Attached as PX366 is a true and correct copy of handwritten notes by NCPD Det. Pizer
         regarding an interview with Samuel Newsome, produced by defendants in discovery.

     99. Attached as PX367 is a true and correct copy of the 10/22/86 statement of Samuel
         Newsome, handwritten by defendant Connaughton, produced by defendants in discovery.

     100.      Attached as PX368 is a true and correct copy of the statement of Shonnard Lee
        handwritten by defendant Robert Dempsey and produced by plaintiff John Kogut in
        discovery.

     101.     Attached as PX369 is a true and correct copy of Al Baker, “Teen Held in Death,”
        Newsday, 6/19/97.

     102.       Attached as PX370 is a true and correct copy of the 6/13/97 statement of Tajuan
        Crum handwritten by defendant Dempsey and produced by plaintiff John Kogut in this
        action.

     103.     Attached as PX371 is a true and correct copy of the Affidavit of Tajuan Crum,
        Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced by plaintiff
        John Kogut in this action.

     104.      Attached as PX372 is a true and correct copy of the Affidavit of Winona
        Hammonds, Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced
        by plaintiff John Kogut in this action.

     105.     Attached as PX373 is a true and correct copy of the Statement of Ragan Martin,
        Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced by plaintiff
        John Kogut in this action.

     106.      Attached as PX375 is a true and correct copy of excerpts of deposition of
        Shonnard Lee, Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW),
        produced by plaintiff John Kogut in this action.

     107.     Attached as PX376 is a true and correct copy of the statement of Robert Moore
        handwritten by defendant Volpe, produced by plaintiff John Kogut in this action.


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     108.      Attached as PX377 is a true and correct copy of the Affidavit of Robert Moore,
        Robert Moore v. Nassau County, No. 00 Civ. 881 (JS)(WDW), produced by plaintiff
        John Kogut in this action.

     109.     Attached as PX378 is a true and correct copy of excerpts of deposition of Robert
        Moore, Moore v. Nassau County, No. 00 Civ. 881 (JS)(WDW), produced by plaintiff
        John Kogut in this action.

     110.      Attached as PX379 is a true and correct copy of excerpts of the deposition of
        NCPD Det. Jerl Mullen, Moore v. Nassau County, No. 00 Civ. 881 (JS)(WDW),
        produced by plaintiff John Kogut in this action.

     111.       Attached as PX380 is a true and correct copy of excerpts of the deposition of
        Joseph Volpe, Moore v. Nassau County, No. 00 Civ. 881 (JS)(WDW), produced by
        plaintiff John Kogut in this action.

     112.      Attached as PX381 is a true and correct copy of NCPD training classes as
        produced by defendants in discovery.

     113.       Attached as PX382 is a true and correct copy of Defendants’ Amended Response
        to Plaintiffs’ Seventh Set of Interrogatories served pursuant to court order granting a
        motion to compel, see D.E. 179 (granting D.E. 174).

     114.      Attached as PX383 is the NCPD Comprehensive Officer Report for defendant
        Volpe.

     115.      Attached as PX384 are true and correct copies of excerpts of the 1986 trial in
        People v. Restivo & Halstead, Ind. No. 61322-85.

     116.      Attached as PX385 are true and correct copies of handwritten notes of defendant
        Dempsey documenting Theodore Robinson’s 3/7/85 telephone complaint, produced by
        defendants in discovery.

     117.      Attached as PX386 are true and correct copies of excerpts of the 2005 retrial in
        People v. Kogut, Ind. No. 61029/85.

     118.      Attached as PX387 is a true and correct copy of the declaration of plaintiffs’ DNA
        expert Charlotte Word.

     119.     Attached as PX388 is a true and correct copy of an Affidavit of Shonnard Lee in
        Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced by plaintiff
        John Kogut in this action.




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      120.     Attached as PX389 is a true and correct copy of an Affidavit of Dorothy Lee in
         Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced by plaintiff
         John Kogut in this action.

      121.     Attached as PX390 is a true and correct copy of an Affidavit of Jeffrey Bourne in
         Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced by plaintiff
         John Kogut in this action.

      122.     Attached as PX391 is a true and correct copy of an Affidavit of Ragan Martin in
         Shonnard Lee v. Nassau County, et al., No. 00 Civ. 0881 (WDW), produced by plaintiff
         John Kogut in this action.

      123.      Attached as PX392 is a true and correct copy of the Comprehensive Officer
         History for defendant Dempsey, produced by defendants in discovery.




  I declare under penalty of perjury that the foregoing is true to the best of my knowledge and

  belief.



  Dated: July 2, 2012                                         _/s/ Deborah L. Cornwall_________
         New York, NY                                         Deborah L. Cornwall




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                                       Certificate of Service

         I hereby certify that a true and accurate copy of the Declaration of Deborah L. Cornwall
  was served by ECF and UPS on July 2, 2012, upon the following:


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                                                     ______/s/ Sophie Glickstein______________
                                                              Sophie Glickstein
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